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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

 IN RE:                                                       §            CHAPTER 11
                                                              §
 NATIONAL RIFLE ASSOCIATION OF                                §            CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC,                                    §
                                                              §
            DEBTORS1                                          §            Jointly Administered
                                                              §

     DEBTORS’ AMENDED OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
       NEW YORK’S DESIGNATIONS OF DEPOSITIONS & PRIOR TESTIMONY AND
                          DESIGNATIONS THERETO

            The National Rifle Association of America (“NRA”) and Sea Girt LLC (“Sea Girt” and

 together with NRA, the “Debtors”), debtors and debtors-in-possession, by and through their

 counsel, submit the following Amended Objections and Counter-Designations to the Attorney

 General of the State of New York’s (“NYAG”) Designations of Depositions & Prior Testimony.




 1
     The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).

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                                     GENERAL OBJECTIONS

         The Debtors object to the designations of any portion of the transcripts of Anthony Makris,

 William Winkler, or Melanie Montgomery for those reasons asserted in the Debtors’ Objections to

 Deposition Testimony from Prior Unrelated Cases and for Which Witnesses are Not Unavailable

 and Request to Exclude the Same [ECF No. 494] (“Motion to Exclude”) which arguments are

 incorporated herein as if fully set forth herein. The objections and counter-designations are therefore

 applicable only to the extent that the Motion to Exclude is overruled or the objections stated herein

 are otherwise overruled.

         The Debtors further reserve their right to raise objections to testimony as it is read into the

 record or played live at the hearing in this matter.

         Furthermore, the designations included testimony that may be cited as confidential and

 therefore, upon the Court’s ruling on objections and testimony being submitted for the record, certain

 information may need to be sealed as appropriate.

         Finally, the designating party has not indicated an intent to introduce any exhibits through

 these designations and Debtors reserves their rights to object if, and when, the designating party

 moves for the admission of any exhibits into evidence.

         Debtors reserve the right to amend or supplement these objections and counter-designations.

                                      SPECIFIC OBJECTIONS

 Wayne LaPierre, 341 Meeting of Creditors, February 22, 2021

      Page: Lines                           Objections                       Counter-designations

  11:23-12:10

  165:20-166:5




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 David Warren, 341 Meeting of Creditors, February 22, 2021

     Page: Lines                        Objections                     Counter-designations

  16:1-22

  27:3-19

  129: 12-19                                                          128:16-129:11


 Wayne LaPierre, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  7:13-8:16

  47:5-49:4

                       Vague and ambiguous; compound; calls for
  57:21-58:4
                       speculation; calls for a legal conclusion


 David Warren, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  14:6-19                                                             14:20-23

  15:24-16:6           Calls for speculation

  49:5-50:9

  79:10-80:8

 John Frazer, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  42:2-20

                       Testimony of Wayne Lapierre; duplicative
  47:5-48:13           of designation referenced in earlier section
                       above



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 Sonya Rowling, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                   Counter-designations

  55:20-56:7


 Deposition of John Frazer, 30(b)(6), taken on March 15, 2021

     Page: Lines                        Objections                   Counter-designations

  11:22- 12:1-8

  12:13-17

  13:19-14:4

  14:16-15:25

  19:4-20:12           Misstates testimony

  21:17-20             Counsel’s question is not evidence

  22:17-20             Counsel’s question is not evidence

  24:15-20             30(b)(6) scope

  25:1-9

  28:16-29:14

  30:10-16             Form; foundation; assumes facts not in
                       evidence; argumentative; calls for
                       speculation
  33:11-34:10

  34:11-12             Assumes facts not in evidence

  34:12-23

  36:6-16              Form; foundation; argumentative

  45:2-46:18

  47:15-25             Form; unclear question; vague; ambiguous;
                       assumes facts not in evidence

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  48:2-18           Assumes facts not in evidence;
                    argumentative; misstates testimony
  49:2-6            Assumes facts not in evidence;
                    argumentative
  51:4-11

  53:3-18

  54:3-18           30(b)(6) scope

  55:13-56:21       Assumes facts not evidence

  58:6-59:16        30(b)(6) scope

  64:17-65:13

  74:12-75:10

  78:7-79:6         Form

  80:2-23

  88:5-21

  88:25-90:15

  90:25-91:3        Calls for a legal conclusion

  95: 5-13

  96:16-21

  99:13-100:6       30(b)(6) scope

  120:10-121:8      30(b)(6) scope

  124:17-125:22

  130:21-131:1

  143:24-144:23     Form




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  144:24-145:1      Counsel’s question is not evidence

  163:2-22          Hearsay (FRE 802)

  163:23-164:4      Assumes facts not in evidence

  166:5-167:25      Form; misstates testimony

  170:25-171:17     Question calls for speculation and
                    characterization of events that occurred;
                    incomplete hypothetical; argumentative
  175:6-19          Form; 30(b)(6) scope; assumes facts not in
                    evidence
  185:21-186:24     Hearsay (FRE 802)                            187:21-188:10

  188:11-24                                                      190:6-9

  189:20-190:1      Question derived from inadmissible hearsay
                    (FRE 802)
  190:16-18         Hearsay (FRE 802)

  190:19-21

  194:21-195:3

  195:23-196:8

  197:25-198:11     30(b)(c) scope; form; compound

  201:9-23          Vague; form

  203: 11-205:18    Rely on documents not in front of the
                    witness
  207:5-19

  208:15-19

  212:5-24

  213:6-15          30(b)(6) scope

  220:13-222:10     Document speaks for itself



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  225:9-15

  226:9-227:4

  228:14-230:2

  230:10-231:9         Question calls for Speculation; relevance
                       (FRE 401)

  231:15-233:1         Question calls for speculation; calls for a
                       legal conclusion; 30(b)(6) scope

  240:24-241:7

  303:22-304:3

  304:23-305:14        30(b)(6) scope

  312:8-10

  322:7-24             30(b)(6) scope; misleading; object to the
                       extent it is intended to elicit a legal
                       conclusion as to the meaning of certain
                       language in the NRA’s bylaws

 Deposition of John Frazer, individually, March 18, 2021

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  11:6-9

  11:22-12:3

  17:21-18:1

  18:7-18

  18:22-19-10

  20:8-13

  21:2-6

  21:21-22:4


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  26:19=27:9

  28:1-6

  31:5-9

  31:25-32:18

  35:11-16

  37:10-19          Hearsay (37:16-19)

  39:24-40:22       Misstates prior testimony; Document speaks
                    for itself; Hearsay

  41:7-9

  42:8-16

  46:23-47:3

  48:11-25          Ambiguous; Compound

  50:15-51:4

  51:11-16

  52:2-7

  52:10-18

  54:15-55:14

  56:19-57:2

  59:5-24           Ambiguous

  60:2-10           Relevance; Ambiguous

  61:6-11           Relevance

  63:5-13

  63:21-64:7




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  65:5-21

  66:8-18

  68:9-19

  71:3-20

  72:4-9

  72:21-25

  73:12-74:3        Seeks a legal conclusion

  74:19-20

  74:24-25

  75:1-6

  77:22-78:13

  82:17-19

  82:25-83:1

  83:4-23

  84:24-86:12       Ambiguous (84:24-25); = Ambiguous
                    (85:1-19)

  88:13-92:2        Ambiguous and calls for speculation
                    (88:13-25); Ambiguous, misleading, and
                    compound (89:1-25); Misleading, misstates
                    prior testimony, ambiguous (90:1-25);



  93:1-12

  93:23-94:3

  94:11-16

  95: 3-13          Attorney-client privilege; Ambiguous


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  95:15-25           Relevance; Misleading

  97:13-24           Relevance; Lacks foundation; Calls for
                     speculation

  98:16-21           Relevance ; Lacks foundation; Calls for
                     speculation

  99:18-100:3        Relevance; Lacks foundation; Calls for
                     speculation

  101:21-102:2

  102:11-13          Lacks foundation; Calls for speculation

  102:24-25

  103:14-20

  104:8-25           Relevance; Lacks Foundation; Calls for
                     speculation; Ambiguous

  105:13-17          Relevance; Lacks Foundation; Calls for
                     speculation

  107:2              Answer to objected question

  108:25-110:7

  111:13-112:10

  112:25-113:1

  113:24-114:21      Ambiguous; Misleading; Lacks Foundation;
                     Document speaks for itself; Best evidence.

  117:7-118:2        Misleading; Misstates prior testimony

  118:15-22          Compound; Misleading

  119:14-120:3

  120:10-122:2       Lacks Foundation; Ambiguous


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  125:10-126:9

  128:9-130:1        Ambiguous; Lacks Foundation;
                     Hypothetical

  133:22-134:1

  135:17-136:17

  140:23-141:8       Relevance; Ambiguous; Lacks Foundation

  141:14-143:19      Relevance; Ambiguous; Misstates prior
                     testimony

  149:16-25

  153:17-154:2

  154:11-15

  155:24-156:12      Relevance; Lacks Foundation; Calls for
                     speculation

  156:21-157:2

  158-170            Improper designation – attorney colloquy is
                     not evidence




  171:3-172:21

  173:21-174:16

  175:12-23

  177:3-17

  179:4-10

  184:3-185:23

  186:8-187:22


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  188:12-23

  192:11-17

  193:1-17           Misleading; Calls for a legal conclusion;
                     Improper opinion

  194-17-23          Calls for a legal conclusion; Improper
                     opinion; Calls for speculation; Hypothetical

  195:1-12           Calls for a legal conclusion; Improper
                     opinion; Calls for speculation; Hypothetical

  195:17-197:13      Calls for a legal conclusion; Improper
                     opinion; Misleading

  197:23-198:23      Ambiguous; Calls for speculation

  199:5-22           Calls for a legal conclusion; Improper
                     opinion; Calls for speculation

  200:20-201:13

  204:8-13

  204:23-25

  207:23-208:14

  209:21-210:13

  210:21-212:9

  213:21-214:10      Ambiguous; Misleading

  214:14-215:22      Ambiguous; Misleading

  216:20-218:2       Compound; Ambiguous; Misleading;

  218:7-19

  220:4-19

  223:6-12



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  224:17-225:6

  226:5-6

  227:11-228:5       Calls for legal advice; Improper opinion

  229:6-12

  237:16-22          Ambiguous; Document speaks for itself

  239:5-17

  240:8-21

  246:2-6            Calls for legal advice; Improper opinion;
                     Calls for speculation; hypothetical

  258:14-21

  260:20-25          Ambiguous; Misleading



  263:5-20           Lacks Foundation; speculation

  267:25-268:5       Relevance; Ambiguous; Misleading

  276:12-277:2       Ambiguous; Misleading

  283:18-284:18      Ambiguous; Misleading

  289:2-21           Ambiguous; Misleading; Compound

  290:14-21          Misstates prior testimony; Ambiguous;
                     Misleading

  291:12-21          Calls for legal conclusion; Improper opinion

  292:1-8            Misleading; Hypothetical

  294-13-21          Misleading; Ambiguous

  295:6-11

  296:14-24          Document speaks for itself



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 Deposition of Wilson Phillips, Jr, taken on March 19, 2021

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  16:21-18:12

  18:20-20:12

  21:4-24:23            Vague and ambiguous (21:10 – 22:8);          20:13-21:3
                        Improper Opinion, Foundation

  27:11-28:24           Incomplete, ambiguous                        27:4-10-28, 25-29:7

  29:10-30:5            Ambiguous

  33:23-35:14

  35:24-36:1            Relevance; Speculation                       36:2-4

  37:19-37:22

  38:10-40:8

  46:1-47:1             Calls for speculation

  52:17-55:5

  55:19-58:6            Calls for speculation (57:18-58:1)

  58:15-62:13           Misstates testimony (59:11-22); Document
                        speaks for itself (60:3-5); Foundation and
                        speculation (60:23-25, 61:5-14)

  63:6-64:10

  66:1-67:16

  68:10-76:11           Foundation and speculation (73:25 – 76:11)

  76:23-77:14


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  78:8-81:14         Foundation and speculation                    81:5-82:10

  82:11-90.3

  90:16-91.3

  92:16-93:24        Foundation and speculation

  92:20-24           Improper opinion testimony

  96:15-96:25        Foundation and speculation

  97:7-98:9                                                        98:16-18

  98:19-98:22                                                      98:23-24

  100:11-104:6       Foundation and speculation

  108:17-111:2       Foundation and speculation

  111:23-113:13      Foundation and speculation

  115:7-116:9

  117:15-121:19      Foundation and speculation

  117:15-121:19

  121:21-123:1                                                     123:2-123:16

  124:12-125:17      Foundation, speculation, assumes facts not
                     in evidence (125:10-14)

  126:9-127.3        Foundation and speculation (126:9-20)

  129:9-147:13       Foundation and speculation (129:18-132:19;
                     133:11-134:3; 134:16-135:23; 136:18;
                     139:19-140:9; 146:4-20); Assumes facts not
                     in evidence (140:10-11; 140:21-22; 141:7-9;
                     142-7-8); Document speaks for itself, calls
                     for a legal conclusion (143:13-146:3);
                     Misstates testimony and hearsay (146:21-
                     147:13)

  148:23-150:2       Foundation


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  152:12-153:11        Foundation (152:12-153:6)

  157:20-159:2         Foundation and speculation

  160:10-163:17        Foundation and speculation (161:17-21;
                       162:2-16; 163:6-10)

  164:17-174:14        Vague (164:17-165:14); Foundation
                       (165:22-166:7; 173:23-25); Speculation
                       (170:22-171:17); Document speaks for itself

  178:4-181:19         Foundation (178:4-179:2); Foundation and
                       speculation (180:25-181:6)

  182:5-17             Foundation and speculation

  186:11-187:9         Foundation and speculation

  191:7-192:19         Foundation and speculation                    192:20 – 193:13

  193:14-194:5

  204:14-212:13        Foundation: document speaks for itself;
                       Assumes facts not in evidence (206:8)
  212:19-20

  213:4-215:16         Calls for a legal conclusion (215:5-13)

  216:14 – 218:22      Foundation and speculation (216:19-21);
                       Relevance and improper opinion (218:14-
                       17)
  221:7-222:19         Vague; Speculation

  228:6-228:25

  237:10-15            Hearsay


 Deposition of Sonya Rowling, 30(b)(6), taken on March 19, 2021

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  16:10-18:19                                                        16:5-10

  21:13-19             Foundation                                    20:16-21:12


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  24:25-27:6         Foundation

  28:9-30:23         Foundation; Misstates testimony

  33:12-34:12                                                   34:13-35:2

  35:3-15                                                       35:16-36:11

  37:15-38:17                                                   38:18-20

  50:8-14            Speculation                                50:15-22

  52:5-12                                                       52:13-18

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  56:4-11            Foundation; Speculation

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  91:3-92:15                                                    92:16-17

  93:15-18           Foundation                                 93:19-23

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  105:23-106:3                                                  106:4-20

  106:21-25



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  119:17-120:12                                                 118:14-23

  132:13-133:7

  133:23-134:5                                                  134:6-16

  135:23-137:1                                                  135:13-22
                                                                137:2-138:6

  138:7-139:22                                                  139:23-140:18

  141:17-142:1                                                  142:2-4

  142:18-143:14                                                 143:23-144:7

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  163:3-164:1

  164:6-167:7        Foundation; Speculation

  170:25-172:2       Speculation

  174:11-175:20                                                 175:21-176:1




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  194:22-195:8                                                       195:9-12

  196:1-13             Foundation

  203:16-204:15                                                      204:16-21

  204:22-205:5                                                       205:6-206:16

  217:2-218:6                                                        218:7-12

  219:9-15


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  31:22–32:12

  42:6-18

  45:1-9                                                             45:10-24
                       Incomplete designation; calls for
  53:1-15              speculation                                   53:16-54:2

                       Vague; misstates testimony
  61:2-25
                       Calls for a legal conclusion
  62:14:64–8

  66-17-23
                       Vague
  68:22–69:24
                       Improper opinion testimony (73:14-17;
  73:3–81:19           77:9-12); Foundation (75:10-75:18; 79:19-
                       21) and speculation

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  84:1-19

  86:15-22
                     Lack of foundation; calls for speculation
  89:19–90:10
                     Document speaks for itself (91:10-93:6)
  90:23–99:2

  103:14–105:2                                                    105:7-8

  105:10–106:7                                                    106:8-13

  106:14–20
                     Foundation, speculation (114:24-115:11)
  113:6–118:5                                                     118:6-25

  120:10–121:11
                     Argumentative, assumes facts not in
  124:19–129:9       evidence, calls for a legal conclusion

                     (duplicative of preceding cite, same
  124:23–129:9       objections)

                     Incomplete designation, foundation,
  129:23–132:4       speculation
  133:4–19                                                        133:20-134:16
                     Argumentative (134:17)
  134:17–135:4                                                    135:5 – 136:15
                     Foundation; calls for speculation
  136:16–138:14

  140:5–25

  143:1–25

  144:25–145:7
                     Misstates testimony (147:7-13)
  146:4–148:22
                     Assumes facts not in evidence
  149:2–22
                     Assumes facts, foundation and speculation
  150:8–152:15       (150:24-151:15), vague and ambiguous

                     Foundation, calls for speculation
  154:1–158:19



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                     Foundation (163:13-21)
  163:12:166:11

  168:12: 170:1                                                   170:2-9

  174:23–175:4

  176:6–176:25                                                    177:13-178:16
                     Assumes facts not in evidence
  178:17–23                                                       179:2-181:8

  181:10–182: 5
                     Misstates testimony
  183:17–184:16
                     Foundation
  185:13–22
                     Foundations, calls for a legal conclusion
  186:12–188:3

  192:14–193:6

  198:10–15                                                       198:16

  200:13–21                                                       200:22-201:4

  201:19–202:13                                                   202:18-204:9

  204:10–205:2

  209:13–22                                                       209:23-210:10
                     Calls for a legal conclusion (215:21-23,
  212:17–230:22      216:4-7); Speculation (233:13-234:13,
                     236:9-237:11); Misstates testimony
                     (263:10-13); Other objections as noted in
                     record


  232:1–240:11

  254:23–255:17

  255:22–257:20
                     Vague (261:18-20)
  258:11–263:23
                     Speculation (266:5-8)
  265:11–266:14
                     This is duplicative of the prior cite and
  266:2–17           appears to be incomplete


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                       Foundation, calls for a legal conclusion
  268:11–272:6         (271:3-272:6)

                       Calls for a legal conclusion
  272:15–273:12
                       Speculation (288:6-13)
  283:9–291:17

  299:4–21

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  49: 3-50:16

  51:2-55:18                                                         55:19-56:19

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  63:24-64:17        Hearsay                                  64:18-24

  68:20-72:18                                                 65:9-66:9

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  104:13-105:23                                               98:2-101:15

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  144:18-145:25                                                   146:1-16

  146:17-161:25        Hearsay

  165:14-166:9

  169:23-172:25                                                   173:1-2

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  184:12-187:18                                                   187:19-24

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  203:8-209:18                                                    209:19-212:24

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  232:1-233:9          Speculation

  236:24-238:7                                                    283:17-240:21


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  93:1- 94:4           FRE 106 (92:1-25; 117:7-18)                92:1-25; 117:7-18

  94:16-95:13          Relevance                                  92:1-25; 117:7-18




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  100:19-101:24      Relevance                                   97:11-23; 98:17-100:6;
                                                                 102:1-25; 103:24-104: 16

  105:12-106:22      Relevance                                   112:25-113:5

  110:18-112:14                                                  112:25-113:5

  113:19-115:19                                                  112:25-113:5

  119:24-120:12                                                  118:10-119:23; 120:13-
                                                                 16

  127:24-130:12                                                  127:8-11

  132:8-19                                                       132:20-133:13

  133:14-134:22

  151:4-156:13                                                   150:6-151:3

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  171:4-172:15                                                   92:1-25; 117:7-18

  176:24-178:18

  180:3-24                                                       180:25-181:12

  240:23-241:13                                                  240:16-22

  245:13-247:21      Relevance                                   74:5-75:23

                     Confidential (247:3-21)

  250:1-251:9        Confidential (249:1-251:15)                 284:22-285:2

  252:13-255:21      Document speaks for itself                  284:22-285:2

                     Confidential (252:22-254:6)

  260:3-261:8        Relevance; Foundation; Speculation;
                     Hearsay

  265:9-266:11       Foundation; Speculation




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  266:24-269:9         Document speaks for itself; Argumentative,
                       Leading, Form, Assumes facts not in
                       evidence; mischaracterizes testimony
                       (267:25-268:6)

  272:2-20             Lack of Foundation; Hearsay


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  14:16-14:19

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  28:10-28:18

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  29:01-29:03                                                 29:3-11

  31:11-32:01

  32:02-32:19        Vague

  32:21-33:01        Vague

  33:03-33:04

  33:06-33:10        Vague




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  34:15-34:23        Hearsay

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  45:23-46:01

  46:02-46:02




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  46:06-46:13

  46:15-46:22        Speculation

  46:25-47:16

  47:19-48:01

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  49:04-49:14                                                  49:15-20

  49:21-49:25        Vague

  50:02-50:15

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  51:25-52:03

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  60:18-60:23

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  62:24-63:14

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  65:18-65:20        Misstates testimony

  66:05-66:11

  66:17-66:23

  66:24-67:15

  67:16-67:22

  67:23-67:25        Calls for speculation

  68:03-68:07        Calls for speculation

  68:19-68:24

  75:21-76:08

  86:23-87:06                                                    87:7-16

  87:17-88:12

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  93:16-93:21                                                   93:22-25

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  122:01-122:16      Speculation (122:13-18)

  122:18-122:18      Speculation (122:13-18)




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  122:19-123:07        Outside scope of direct

  123:09-124:05        Outside scope of direct


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  62:6-13                                                          59:7-62:5
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  64:2-65:7            Speculation (64:10-12)
  65:8-20
  69:8-70:11           Hearsay testimony based on out-of-court     66:10-69:7
                       statements of Angus McQueen (69:17-23)
  70:12-72:25          Hearsay testimony based on out-of-court
                       statements of Rick Tedrick (71:15-23 )

                       Hearsay testimony based on out-of-court
                       statements of Angus McQueen (75:5-7)


  73:1-14              Hearsay testimony based on out-of-court
                       statements of Angus McQueen

  74:16-75:24
  76:2-10
  84:18-85:22
  85:23-86:6
  101:20-104:13                                                    104:14-105:19
  108:5-109:15                                                     107:10-108:4
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  110:4-22             Hearsay testimony based on out-of-court
                       statements of Angus McQueen

  116:14-117:2                                                     116:4-13
  122:12-123:10        Hearsay testimony based on out-of-court     117:3-122:11
                       statements of Angus McQueen (122:22-23
                       )

  123:11-124:8         Speculation; Lacks foundation (123:6-9)     124:9-127:7

  143:21-148:2         Hearsay testimony based on out-of-court
                       statements of Angus McQueen (144:3-6)

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                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (144:13-
                     148:2)

  151:12-21                                                       151:22-152:19
  152:20-154:14      Hearsay testimony based on out-of-court
                     statements of Angus McQueen (152:22-
                     153:1)

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (153:12-18)


  156:4-160:22       Hearsay testimony based on out-of-court
                     statements of Angus McQueen (156:22-
                     158:16)


  163:18-167:21      Hearsay testimony based on out-of-court      162:8-163-17
                     statements of Angus McQueen (164:6-13)

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (164:19-21)


  176:4-23
  179:17-180:14                                                   180:21-181:9
  181:10-183:11                                                   183:12-183:19
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  184:22-185:18      Hearsay testimony based on various out-of-   185:19-21
                     court statements told to him or in writing
                     (185:7-18)
  186:5-12

  198:21-199:13                                                   199:14-200:2
                                                                  203:13-205:16
                                                                  207:9-208:7
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                                                                    222:10-24
  230:2-231:9         Hearsay testimony based on out-of-court
                      statements by various declarants verbally
                      and in writing (See testimony at 156:25-
                      158:12)

  233:15-235:8        Argumentative; speculation; lacks
                      foundation; hearsay based on review of out-
                      of-court statements by Montgomery
  236:2-237:3         Hearsay testimony based on out-of-court
                      statements by Angus McQueen and review
                      of out-of- court statements by Montgomery
  239:10-243:24       Speculation, lacks foundation (241:13-        238:18-239:9
                      242:6); Relevance (242:1-6); Hearsay; no
                      personal knowledge, lacks foundation
                      (243:5-243:24)

   244:3- 246:7       Hearsay (see testimony at 254:3-8 (witness
                      testifies he was not party to conversation
                      about which he gave testimony);
                      Argumentative, speculation, lacks
                      foundation (245:13-17)

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  13:17-15:17                                                       19:18-20:17; 30:22-33:12

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  80:15-81:15                                                       84:6-24; 85:21-86:25

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  112:10-115:14                                                     115:15-117:9

  117:10 -19

  117:20-119:10



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 Dated: April 7, 2021                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been served on all parties receiving notice by and through the Court’s CM/ECF system on

 April 7, 2021.


                                                          /s/ Caitlin Halm
                                                          Caitlin Halm, an employee of
                                                          Garman Turner Gordon LLP




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